 

Case 1:11-cv-00700-KG-SCY Document 448 Filed 05/29/18 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO
TERYSA WELCH,
Plaintiff,
vs. Civ. No. 11-700 KG/SCY

CITY OF ALBUQUERQUE,
a New Mexico Municipality,

Defendant.

ORDER OF MISTRIAL

A jury trial was held in this matter from May 14, 2018, to May 18, 2018, and from May
21, 2018, to May 25, 2018. The issues having been duly tried, and the jury having been unable
to reach a unanimous verdict on any of Plaintiff's claims,

IT IS ORDERED that a mistrial is declared and that a new jury trial date will be set. A
status conference will be held by telephone on THURSDAY, MAY 31, 2018, AT 1:30 PM.
The parties shall call Judge Gonzales' Meet Me line at 505-348-2354 to be connected to the
proceedings. This line can only accommodate up to five (5) telephone lines, including the

Courts; if the parties anticipate that they will exceed this capacity, they must contact the Court

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immediately so that alternative arrangements may be made.
